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February 15, 2019

The Honorable Kenneth J. Mansfield
300 Ala Moana Blvd., C-338
Honolulu, Hawaii 96850

               Re:      Ohana Military Communities, LLC, et al. v. Cara Barber,
                        Civil No. 18-00042 KJM, USDC

Dear Judge Mansfield:

                Defendant Cara Barber previously agreed to produce numerous categories of
communications that are directly relevant to the claims in this case. Ms. Barber has since taken
the position that she will only produce communications that occurred during a six-month period
between the parties’ settlement agreement and the filing of the preliminary injunction motion.
This is plainly improper. Communications prior to Ms. Barber’s social media campaign are
relevant to whether Ms. Barber acted negligently in making the statements in the campaign (an
element of defamation). Communications after the motion are relevant because, among other
reasons, Ms. Barber’s counterclaim involves conduct that occurred in 2017 or 2018. Ms. Barber
is also refusing to produce (i) communications that took place on her various social media
platforms, despite the platforms’ significance to this case, and (ii) two additional categories of
communications, addressed below. In sum, Plaintiffs are moving to compel responses to
Request Nos. 1, 3, 7, 9, 13, 18–19, 20–22, 25–27, and 29–30.

               Pursuant to Local Rule 37.1, the parties exchanged several letters regarding their
respective positions, and then conferred orally on February 4, 2019. The parties agreed to submit
simultaneous letter briefs to the Court by 4:00 p.m. on February 14, 2019. The discovery
deadline is April 12, 2019, and trial is scheduled to begin on June 12, 2019.

I.     FACTUAL AND PROCEDURAL BACKGROUND

                In 2014, Ms. Barber and several other residents of Marine Corps Base Hawai‘i
(“MCBH”) filed a putative class action (Barber v. Ohana Military Communities, LLC, CV 14-
00217 HG-RLP (“Barber I”)) claiming that Ohana Military Communities LLC (“Ohana”) and
Forest City Residential Management LLC (“FCRM”) failed to disclose the existence of unsafe
levels of pesticides in the soils around the homes at MCBH. See Compl., ¶ 27 (ECF No. 1). The
case was settled in February 2016, and shortly thereafter Ms. Barber launched a social media
campaign encouraging new lawsuits against Ohana and FCRM. In June 2016, Ohana and FCRM
filed a motion to enjoin the campaign in Barber I.

              Ohana and FCRM filed the instant Complaint against Ms. Barber on January 31,
2018 (“Barber II”). Ohana and FCRM allege that the social media campaign contained highly


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false and misleading statements about the conditions at MCBH and the conduct of Ohana and
FCRM. Barber II contains claims for defamation, false light and other torts. Ms. Barber filed an
eleven-count Counterclaim, but only one claim, for breach of the Settlement Agreement, remains
in the case. Ms. Barber alleges that, “[i]n 2017 and/or 2018, in response to a FOIA request by a
known news agency, Reuter’s News Service, the United States Navy sent documents describing
the terms of the original settlement, including the settlement amount, thereby breaching” the
settlement agreement. Countercl. ¶¶ 20, 24 (ECF No. 19).

II.       THE DISCOVERY AT ISSUE

                 Ohana served its first document requests on November 9, 2018. Most of the
requests were straightforward requests for communications. For instance, Request No. 1 sought
“All COMMUNICATIONS between YOU, on the one hand, and any PERSON, on the other,
related to soil conditions at MCBH.” Id. Numerous other requests followed this same pattern,
but sought more specific categories of “COMMUNICATIONS between YOU . . . and any
PERSON,” including communications “related to pesticides at MCBH” (No. 3); communications
“related to any pesticide, chemical, or compound that YOU contend is or has been present at
MCBH, including but not limited to chlordane, heptachlor, heptachlor epoxide, aldrin, dieldrin,
endrin and DDT” (No. 7); communications “related to or mentioning this lawsuit” (No. 9);
communications “related to any investigation, research, inspection, testing, or study of soils,
pesticides, dust, or any other aspect of the residential housing at MCBH” (No. 13)1;
communications “related to, with, or mentioning the Hawaii Department of Health or any of its
employees” (No. 19); and communications “related to the ‘FOIA request’ described in paragraph
20 of the COUNTERCLAIM” (No. 30). A few requests were formulated differently, and were
targeted at communications with groups of people on certain topics: communications with “any
news media outlet, blogger, reporter, or journalist related to MCBH” (No. 25); communications
with “any news media outlet, blogger, reporter, or journalist related to soil issues at military
housing” (No. 26); communications with “any PERSON who is leasing or has leased or resided
in residential property from OHANA, FCRM, or HUNT COMPANIES . . . related to soil issues
at military housing” (No. 27); and communications with “any PERSON who is leasing or has
leased or resided in residential property from OHANA, FCRM, or HUNT COMPANIES . . .
related to organo-chlorinated pesticides and/or related compounds such as chlordane, heptachlor,
heptachlor epoxide, aldrin, dieldrin, endrin and DDT” (No. 29). For each of the foregoing
requests (collectively, the “MCBH Soil Requests”), Ms. Barber stated she “will produce
nonprivileged documents in her possession,” without any limitation on time period.

               In addition to the MCBH Soil Requests, this motion also seeks to compel a
response to Request No. 18 (the “Chun Request”), which sought “All DOCUMENTS, including
but not limited to any COMMUNICATIONS, related to, with, or mentioning Walter Chun.”
Mr. Chun has been closely involved in Ms. Barber’s allegations against Ohana and FCRM, and
he has regularly sent letters to various governmental agencies and elected officials alleging
environmental issues at MCBH. Finally, Request Nos. 20–22 sought: “[f]or the time period from

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    We will agree to limit this request to soils and pesticides, not dust or “other aspects.”
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February 1, 2016 to the present, all COMMUNICATIONS between YOU, on the one hand, and
Kyle Smith, Terrance Revere, or any other individuals at their respective law firms, on the other
hand, related to”—“lawsuits being filed against OHANA, FCRM, or HUNT COMPANIES”
(No. 20); “YOUR WEB AND SOCIAL MEDIA SITES” (No. 21); and “current or former
residents of MCBH residential housing ( other than yourself or YOUR family) (No. 22).

III.   THE MCBH SOIL REQUESTS [Request Nos. 1, 3, 7, 9, 13, 19, 25–27, and 29–30]

       A.      Time Period

               In her initial responses to the MCBH Soil Requests, Ms. Barber recognized the
appropriateness of the requests and agreed to produce all non-privileged documents. But she
never actually did so, and she is now taking the position that she will only produce documents
for the time period between the Barber I settlement on February 12, 2016, and the filing of the
preliminary injunction motion on June 15, 2016. Ms. Barber claims that communications prior
to the settlement agreement are not relevant because the settlement included a release, and
communications after the preliminary injunction motion are not relevant because the issue of the
“Navy’s release of a confidential settlement memorandum . . . has essentially been nullified by
Judge Mansfield’s ruling that the settlement agreement . . . .” Both arguments fail, as these
communications are “reasonably calculated to lead to the discovery of admissible evidence”—
indeed, they are highly relevant to Ohana and FCRM’s claims and defenses.

                Communications prior to the settlement agreement are highly relevant to
Plaintiffs’ claim for defamation, which requires Plaintiffs to prove “fault amounting at least to
negligence on the part of the publisher.” Nakamoto v. Kawauchi, 142 Haw. 259, 270, 418 P.3d
600, 611 (2018). In order to prove fault, Plaintiffs will need to rely upon the information that
Ms. Barber had prior to beginning her 2016 social media campaign. To the extent that
Ms. Barber learned facts that contradicted her statements in 2013, 2014, or 2015, or to the extent
she failed to conduct a reasonable investigation, that would be directly relevant to whether she
acted negligently (or with some other degree of fault) in making the 2016 statements that form
the basis for this case. Because fault is an element of defamation, it is axiomatic that plaintiffs
are required to rely upon communications and documents prior to the defamatory statements.
Ms. Barber’s argument that the settlement agreement somehow made pre-settlement
communications irrelevant misses the point of these documents. Plaintiffs are not seeking Ms.
Barber’s pre-settlement communications to suggest that any of them could support independent
claims for defamation; Plaintiffs are seeking Ms. Barber’s pre-settlement communications to
show her state of mind, her intent, and her body of knowledge prior to making the statements.

               Communications that Ms. Barber made after the preliminary injunction motion
are also highly relevant. If Ms. Barber had communications with third-parties discussing her
campaign, discussing the specific statements she made in the campaign, or even discussing the
preliminary injunction hearing itself, such communications are relevant to this case.
Ms. Barber’s statements are also highly relevant to her Counterclaim for breach of the settlement
agreement. According to Ms. Barber, “[i]n May 2017, [she] submitted a FOIA request [to the
Navy] for ‘chlordane or pesticide management records’ dated 1995 to present.” Def.’s Response
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to Pl.’s First Interrog., No. 10 (Dec. 21, 2018). As part of its response to that request, the Navy
“released Forest City’s highly confidential Settlement Memo to [Ms. Barber], along with
numerous other records.” Id. Ms. Barber did not tell anyone at Ohana or FCRM about this
disclosure. “Shortly after those records were released,” Ms. Barber communicated with a
freelance journalist, and the freelance journalist submitted her own FOIA request to the Navy.
Id. The Navy then disclosed the same settlement memorandum, which is the basis for
Ms. Barber’s claim against Ohana. Ohana plainly has a right to discover Ms. Barber’s
communications with this freelance journalist and any other third-parties related to the settlement
memoranda. Such communications are directly relevant to Ohana and FCRM’s defenses (e.g.,
that Ms. Barber caused the breach for which she is suing; Unclean Hands; etc.). With respect to
the Court’s recent ruling on the motion to seal, it is unclear how it would “nullify” this argument.
The only way that this argument could be “nullified” is if Ms. Barber withdraws her claim.

       B.      Communications Sent Through Social Media

                In addition to only agreeing to produce documents within a short timeframe,
Ms. Barber has also refused to produce communications that she sent or received through her
social media accounts. There is no basis for this refusal. Ms. Barber has previously testified that
she uses Facebook “as the way to communicate with families,” of which there are more than
1,500 that follow her page. 8/3/16 Trans., 25:12–13, 34:9–13. Ms. Barber has also testified that
her Facebook followers frequently interact with her on Facebook. See id. at 46:1–6. Given
Ms. Barber’s use of social media as the main platform for her statements (which are the subject
of the Complaint), her communications on these platforms are highly relevant and must be
produced. Facebook provides specific guidance on how to download this information. See, e.g.,
https://www.facebook.com/help/212802592074644.

IV.    THE CHUN REQUEST [Request No. 18]

                Walter Chun was an employee (or contractor) of Metcalf Construction, a
contractor that performed work at MCBH prior to Ohana. Metcalf Construction filed suit against
the United States related to the cost of certain soil work, see, e.g., Metcalf Const. Co. v. United
States, 742 F.3d 984 (Fed. Cir. 2014), and Mr. Chun thereafter became a vocal critic of soil
issues at MCBH. See, e.g., https://www.slideshare.net/civilbeat/letter-from-dr-walter-chun-to-
doh. Mr. Chun even wrote a book about the soil issues called “The Contract from Hell.”

                 During the evidentiary hearing on the preliminary injunction motion, Ms. Barber
testified that the basis for many of the statements she made in the social media campaign—such
as her claim that conditions at MCBH “remain at least 20 times higher than EPA safety
recommendations”—were conversations with Mr. Chun. See, e.g., 8/5/16 Trans., 68:11–68:15
(questioning by Kyle Smith) (“Q. And we’re going to hear from Dr. Chun, but—so I don’t mean
to belabor the point, but this part of the statement where you’re talking about the 20 times, do
you agree this is partly based upon your conversations with Dr. Chun? A. Oh, absolutely.”)
(emphasis added); id. at 109:12–15 (“Q. And you testified that you relied on a number of
different conversations with Mr. Chun and with Eric Sadoyama; is that correct? A. Correct.”).
Ms. Barber also stated that she talked to Mr. Chun and relied on statements he made when
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claiming that residents were exposed to “much higher lifetime rates of cancer and other
diseases.” Id. at 59:20–61:19.

                Despite their clear relevancy, Ms. Barber claims that her communications with
Mr. Chun are privileged because he has been designated as an expert witness. This is not correct
for at least two reasons. First, Mr. Chun is purporting to provide an opinion on the
reasonableness of Ms. Barber’s investigation. See, e.g., Chun Report at 4 (“Overall Opinion: . . .
Ms. Barber’s actions and efforts to investigate, research, learn, educate and to make families
aware of the unsatisfactory and unsafe conditions created by the Plaintiff’s military family
housing project was truthful and based upon accurate information.”); id. at 11 (“The accusation
that Ms. Barber did not investigate the information and statements she made on Facebook is
false.”). Therefore, Ms. Barber’s communications with him on this issue are not protected. See
Fed. R. Civ. Proc. 26(b)(4)(C)(ii)–(iii). Second, Ms. Barber is relying on advice provided by
Mr. Chun to justify the fact that she made the relevant statements. She has therefore waived any
privilege as to communications with Mr. Chun. See, Regents of Univ. of California v. U.S. Dep’t
of Homeland Sec., Civ. No. C 17-05211 WHA, 2017 WL 4642324, at *5 (N.D. Cal. Oct. 17,
2017) (“Where a party raises a claim, which in fairness to its adversary requires it to reveal the
information or communication that claim is predicated upon, it has implicitly waived any
privilege over that communication.”) (citations omitted); Ojmar US, LLC v. Sec. People, Inc.,
Civ. No. 16CV04948HSGMEJ, 2017 WL 2531472, at *2 (N.D. Cal. June 12, 2017) (noting that
reliance on advice-of-counsel defense waives privilege).

V.     THE SMITH/REVERE REQUESTS [Request Nos. 20–22]

                 Communications between Ms. Barber and Smith/Revere about recruiting new
residents to file new lawsuits against Ohana and FCRM are not privileged. See, e.g., Gramercy
Grp., Inc. v. D.A. Builders, LLC, Civ. No. 16-00114 JMS-KSC, 2017 WL 5179530, at *2
(D. Haw. Nov. 8, 2017) (“To be protected by the privilege, ‘confidential communications [must
be] made for the purpose of facilitating the rendition of professional legal services.’”).
Recognizing this, Judge Gillmor ordered Ms. Barber to produce “[a]ll communications from
January 5, 2016 to August 11, 2016 that were made between Plaintiff Cara Barber and the law
firms of Revere & Associates and Lynch, Hopper, Salzano & Smith regarding new lawsuits and
new clients concerning disputes as to housing at Marine Corps Base Hawaii[.]” See Barber I,
Minutes (ECF No. 330) (Aug. 12, 2016); see also 8/3/2016 Trans. 33:3–40:22. To the extent
that additional documents exist responsive to these requests, Ms. Barber should be ordered to
produce them. See, e.g., Ocean Mammal Inst. v. Gates, Civ. No. 07-00254DAELEK, 2008
WL 2185180, at *10 (D. Haw. May 27, 2008) (“The party asserting the [attorney-client]
privilege bears the burden of establishing that it applies to the documentation, etc., sought by the
opposing party. Blanket assertions are extremely disfavored.”) (citations omitted).

                                      Sincerely,
                                      /s/ Randall C. Whattoff
                                      Joachim Cox
                                      Randall Whattoff
                                      Kamala Haake
